          Case 1:19-cr-10078-RWZ Document 26 Filed 04/19/19 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT COURT OF MASSACHUSETTS

__________________________________________
                                          )
 UNITED STATES OF AMERICA,                )
                                          )
                        Plaintiff         )
v.                                        )                     CASE NO. 19cr10078-1-RWZ
                                          )
 William Rick Singer,                     )
                                          )
                        Defendant.        )
__________________________________________)

          ASSENTED MOTION TO MODIFY THE STATES TO WHICH
     THE DEFENDANT MAY TRAVEL BY ADDING THE STATE OF MISSOURI


        Pursuant to this Court’s Order Setting Conditions of Release of March 12, 2019, the

defendant is restrict in travel to the states of Massachusetts, California and Florida. [Doc. 20, p.

2, Par.(7)(f). The defendant son currently residing and attending college in the Eastern District of

Missouri and will continue his graduate education in the same college in pursuit of a Master of

Arts degree and hopes to visit with his son a fairly regular basis. The defendant would propose

that conditions of travel be modified by adding the Eastern District of Missouri to the permitted

travel states above mentioned. All travel by the defendant outside of his current place of

residence shall be subject to approval of the supervising Pretrial Services Officer the supervising

defendant at the time of the defendant’s proposed travel, so as not to burden the Court,

government counsel and defense counsel with filing motion(s) to temporary grant travel

authorization(s). The Senior U.S. Probation Officer assigned defendant’s case for the District of

Massachusetts assents to this motion as does Assistant U.S. Attorney Eric Rosen.

       WHEREFORE, the undersigned counsel respectfully moves that this motion be granted

       so as to enable the defendant to travel to and from the Eastern District of Missouri by



                                                  1
           Case 1:19-cr-10078-RWZ Document 26 Filed 04/19/19 Page 2 of 2



         adding the Eastern District of Missouri to the listed permitted travel states, subject to the

         defendant obtaining approval for said travel from the U.S. Pretrial Services Officer

         currently supervising defendant at the time of the defendant’s proposed travel.

                                                        Respectfully submitted,

                                                        /s/ Donald H. Heller

                                                        Donald H. Heller, Esquire
                                                        Donald H. Heller, A Law Corporation
                                                        Attorney for Defendant
                                                        William Rick Singer



Approved.

Dated:
                                                        United States District Judge




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